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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION

 LAURIE BROWN; OLUWAKEMI FOSUDO; and
 ABIGAIL MUSICK, individually and on behalf of
 all others similarly situated,
                                                        Case No. 5:24-cv-05144
                        Plaintiffs,
        v.

 WALMART, INC.,

                        Defendant.

                           MOTION TO APPEAR PRO HAC VICE

       Pursuant to Local Rule 83.5(d), H. Gregory Campbell respectfully moves foradmission

pro hac vice of Elliot O. Jackson on behalf of Plaintiffs Laurie Brown, Oluwakemi Fosudo, and

Abigail Musick to represent them, appear, and participate on their behalf in this case:

       1.      H. Gregory Campbell is an attorney licensed to practice law in the State of

Arkansas and has been licensed since 1992.

       2.      Mr. Jackson is a resident of Florida. He was admitted to the Florida Bar on

February 17, 2022. He is a member in good standing of the Florida Bar, having graduated from

the Florida A&M University College of Law in 2021. He is admitted to practice before the Florida

Supreme Court and the United States District Court for the Middle and Southern Districts of

Florida. He is of good moral and professional character.

       3.      Mr. Jackson has not been the subject of any disciplinary proceedings,

investigation, action, or grievance procedure, has not been disbarred in other courts, and has

not been denied admission to the courts of any state or court of the United States. Mr. Jackson

is competent to practice before this Court. Subject to the investigation of his fitness,
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competency, and qualifications, he should be granted admission to the Bar of this Honorable

Court.

         4.    Mr. Jackson is an Associate Attorney at Hedin LLP, 1395 Brickell Ave. Suite

610, Miami, Florida 33131. Mr. Jackson submits to all disciplinary procedures applicable to

Arkansas lawyers.

         5.    Attached as Exhibit A is a Declaration from Mr. Jackson, which is incorporated

herein by reference. Attached to the Declaration is a Certificate of Good Standing from the Florida

Supreme Court or Mr. Jackson, which is also incorporated herein by reference.

         WHEREFORE, H. Gregory Campbell moves this Honorable Court to admit Elliot O.

Jackson as Counsel for Plaintiffs.


Dated: July 19, 2024                         Respectfully submitted,

                                             /s/ H. Gregory Campbell
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                                             Counsel for Plaintiffs and Putative Class




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